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           Case 2:09-cr-00113-GMN-EJY            Document 413          Filed 11/09/11    Page 1 of 1


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     U SA
                          PlaintiR
                                                                     DistrictN o. 2:09-CR-113GNIN PA L
     VS.


     LUIs VEGA .RIJBIO


                          Defendant.

                             ORD ER TEM N Q AQH ,
                                                Y UNSEALING TRAN SCR IPT


             OnNovember9,20llthiscourtreceivedatranscriptorderform datedNovember9,2011requesting a
    Trt
      m script ofthehearingNeld onFebruazy 16,2011from M sM argaretHomath,counselforPlainti/ inwhich a
    portion ofthehearingkssealed.

            IT IS THE ORDER OF THE COURT thatportionofthesealed recording shallbeunsealedby theClerk
    forthelim ited purposeofproviding atranscriptofhearingasrequestedbyPlaintiff'sCotmsel.


             IT IS FURTHER ORDERED thattlzeportionoftlzesealed recording shallthereafterberesealedbythe
    Clerk untilfurtherorderofthisCourt.
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             ITISFURTHERORDEREDtikatPlaintiffcounselshallnotdisclosethesealedcontentsofthetramcript                                           !
    toanyone otherth% fherepresentativesofthepartiesdirectly concernedw1t11thiscase.                                                          :
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             DATED this       day ofN ovember,2011.




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                                                      United SG s istrictJudge
